                                                                       (SPACE BELOW FOR FILING STAMP ONLY)
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 5           ATTORNEYS FOR   Defendant, Vong Southy
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10                                                  *****
11   UNITED STATES OF AMERICA, )                     CASE NO: 1:13-CR-00294 LJO-SKO
                               )
12        Plaintiff,           )                     WAIVER OF DEFENDANT’S PERSONAL
                               )                     PRESENCE; ORDER
13   v.                        )                     THEREON
                               )
14   VONG SOUTHY,              )
                               )
15        Defendant.           )
                               )
16
17                   Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Vong Southy, having been advised
18   of his right to be present at all stages of the proceedings, hereby requests that this Court proceed in
19   his absence on every occasion that the Court may permit, pursuant to this waiver. Defendant agrees
20   that his interests shall be represented at all times by the presence of his attorney, Harry M. Drandell,
21   the same as if Defendant were personally present, and requests that this court allow his attorney-in-
22   fact to represent his interests at all times. Defendant further agrees that notice to Defendant’s
23   attorney that Defendant’s presence is required will be deemed notice to the Defendant of the
24   requirement of his appearance at said time and place.
25   Dated: August 29, 2013                          /s/ Vong Southy
                                                     VONG SOUTHY
26
27   ///
28   ///
     Case 1:13-cr-00294-LJO-SKO Document 49 Filed 08/30/13 Page 2 of 2


 1   Dated: August 29, 2013                       HARRY M. DRANDELL
                                                  Law Offices of Harry M. Drandell
 2
 3
                                          By:     /s/ Harry M. Drandell
 4                                                HARRY M. DRANDELL
                                                  Attorney for Defendant,
 5                                                VONG SOUTHY
 6
 7
 8
 9                                              ORDER
10            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance
11   may be waive at any and all proceedings until further order.
12
13
14   IT IS SO ORDERED.
15   Dated:     August 29, 2013                         /s/ Sheila K. Oberto
     ie14hj                                     UNITED STATES MAGISTRATE JUDGE
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